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IN RE: ASBESTOS PRODUCTS              UNITED STATES DISTRICT COURT FOR )
LIABILITY LITIGATION (NO. VI)         THE EASTERN DISTRICT OF          )
                                    ) PENNSYLVANIA
THERESA M. SCHOTT, individually and )
as Personal Representative for the Estate of )
ROBERT THOMAS SCHOTT )                                                     EDPA Case No. 2:09-CV -63308-ER
                                                                       )
                        Plaintiffs,                                    )
                                                                           Transferor Cour: United States District Court for
            vs.                                                        ~   the Central District of California
CLA- V AL CO., et al.,                                                 ~
                                                                       )
                        Defendants.                                    )
                                                                       )




                          DEFENDANT VIAD CORP'S NOTICE OF MOTION AND
                               MOTION FOR SUMMARY JUDGMENT




            Defendant Viad Corp ("Viad"), by its undersigned counsel, moves for summary
judgment before the United States District Cour, Eastern District of                          Pennsylvania, MDL 875.
            In support of this motion, Viad relies on the attached Memorandum of Points and
Authorities, Declaration of Peter B. Langbord and exhibits attached hereto.
DATED: August 13,2010



                                                                                     Peter B. Langbord .... .-~
                                                                                     Attorney for Defeant
                                                                                     Viad Corp
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                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: ASBESTOS PRODUCTS                      )   CIVIL ACTION NO. MDL 875
LIABILITY LITIGATION (NO. VI)                 )
                                              )
THERESA M. SCHOTT, Individually and ) EDPA Case No. 2:09-CV-63308-ER
as Personal Representative for the Estate of ) Chief U.S. Magistrate Judge Thomas J. Rueter
ROBERT THOMAS SCHOTT )
                                              )
              Plaintiff,                      )
                                              )
       vs.                                    )

CLA- V AL CO., et al.,                        ~
                                              )
               Defendants.                    )
                                              )


                 DEFENDANT VIAD CORP'S MEMORANDUM OF LAW
              IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

       Defendant Viad Corp (hereinafter "Viad"), by and through counsel and pursuant to
Federal Rule of Civil Procedure 56, submits this Memorandum of Law and corresponding
documentation in support of its Motion for Summar Judgment.
       Plaintiff Theresa M. Schott commenced this product liabilty action against Viad alleging
that it is the corporate successor to the Griscom-Russell Company ("GRC"), a defuct company
that allegedly sold evaporators and fuel oil heaters to the U.S. Navy for use on naval vessels.
Plaintiff seeks damages allegedly caused by Robert T. Schott's ("Decedent") exposure to

asbestos-containing products while serving in the Navy aboard the USS Franlin D. Roosevelt

("USS Roosevelt"), USS Oriskany, USS Samuel N. Moore ("USS Moore"), and USS Caliente.
       Viad moves for sumary judgment with respect to plaintiffs Complaint, as Viad is not
the legal corporate successor to GRC. Further, there is no evidence that Decedent's alleged

exposure to any GRC product was a substantial contributing factor to his alleged asbestos
disease. As set forth below, there are no genuine issues of material fact, and Viad is therefore

entitled to judgment as a matter of law.
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I. STATEMENT OF FACTS
       A. Factual Background Regarding Product Identification And Exposure

       1. The Complaint

       Plaintiff claims that Decedent was exposed to asbestos from 1947 to 1970, when he
served as a fireman and machinist mate in the Navy aboard the USS Roosevelt, USS Oriskany,

USS Moore, and USS Caliente. See Exhibit "A" to plaintiffs Complaint. The Complaint
generally alleges that Decedent was exposed to asbestos from his work with and around products

manufactured, supplied, or sold by defendants named in the Complaint. See generally
Complaint. Viad is one of several named defendants in this matter, and is being sued as an
alleged successor to GRC. GRC is a defuct company that manufactured evaporators and fuel

oil heaters used on some Navy vessels. The Complaint makes no specific allegations as to when
or where Decedent was exposed to a GRC product; nor are there any allegations regarding

exposure to any specific GRC product. See generally Complaint.
       2. Plaintiff's Discovery Responses

       During the discovery period, Viad propounded Special Interrogatories, Request for
Production of Documents, and Request for Admissions to determine what evidence, if any,
plaintiff has regarding Decedent's alleged exposure to asbestos-containing products

manufactured by GRC. Plaintiff provided no evidence in her responses to support her claims
against Viad.

       Plaintiffs responses included no detail about any particular GRC product at issue, and
are silent about Decedent's alleged exposures. See Plaintiffs Responses to Special

Interrogatories, Request for Production of Documents, and Request for Admissions, attached as
Exhibits A, B, and C, respectively. Plaintiff did not specify what particular GRC product
Decedent worked on or around, or the location, fuction, or physical description of the GRC
product. Plaintiff merely made general statements about Decedent being exposed to asbestos-




                                              2
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containing GRC distiling plants during his service aboard USS Roosevelt, USS Oriskany, USS
Moore, and USS Caliente.

        Plaintiffs factually devoid responses to Viad's case specific discovery do not provide the

missing evidence of Decedent's exposure to asbestos from a product supplied by GRC. Plaintiff
failed in her responses to written discovery to disclose any witness, document, or evidence to
support her contention that Decedent worked with or around asbestos-containing products
manufactured or supplied by GRC.

        3. Depositions

                 a. Decedent Robert Schott

        Decedent and his wife initially fied two separate but substantially identical California
state court actions, each with different defendants, seeking damages for Decedent's alleged
asbestos-related injuries. Defendants in this case removed this matter to federal cour, and the
other action proceeded in California state cour (Los Angeles County Superior Court Docket No.
BC390952) ("the State Court Case"). Decedent passed away on December 19, 2008, before he
could be deposed in this case. See Exhibit D, Death Certificate. In the State Court Action,

Decedent's trial preservation deposition was taken in August 2008 and his discovery deposition

was taken in October and November 2008.1 Viad was not a defendant in the State Court Case
and thus was not present at those depositions.

        Decedent served aboard the USS Roosevelt from 1948 to 1954. See Exhibit E, discovery
deposition transcript of Robert T. Schott, taken October 9, 2008, 185:12-15. He served aboard
the USS Oriskany from 1954 to 1956. See Exhibit E, discovery deposition transcript of Robert T.
Schott, taken October 9,2008, 185:25-186:11. By the time Decedent boarded the USS Oriskany
in 1954, it had already been through several overhauls. See Exhibit F, discovery deposition

transcript of Robert T. Schott, taken October 16, 2008, 520:5-11. Decedent did not work on any



¡By citing to Decedent's and co-workers' testimony, Viad does not intend to waive its objection to the introduction
of this testimony at the time of triaL.


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GRC equipment while aboard the USS Roosevelt or the USS Oriskany. See Exhibit I, discovery
deposition transcript of   Robert T. Schott, taken November 3,2008, 1499:19-23.

            Decedent was transferred to shore duty at the San Diego Recruit Training Center, where
he trained newly enlisted recruits from 1956 to 1959. During this time, Decedent did not board
any ships and did not perform repair or maintenance to any equipment or machinery. See
Exhibit E, discovery deposition transcript of Robert T. Schott, taken October 9, 2008, 187:19-
188:8.

            Decedent served aboard the USS Moore from 1959 to 1966, approximately fifteen years
after she was commissioned. See Exhibit E, discovery deposition transcript of Robert T. Schott,

taken October 9, 2008, 188: 15-19, see also Exhibit H, discovery deposition transcript of Robert
T. Schott, taken October 17,2008,636:10-18. Decedent testified that the USS Moore underwent

at least four overhauls at Long Beach Naval Shipyard during the time he was aboard her. See
Exhibit H, discovery deposition transcript of Robert T. Schott, taken October 17, 2008, 636: 1 0-

18.

            Decedent associated the name Griscom Russell with evaporators, and testified that aboard

the USS Moore, he pulled the tube nest from the evaporator "to get the salt off the tubes,"
removed exterior insulation, and removed and installed gaskets. See Exhibit I, discovery

deposition transcript of    Robert T. Schott, taken November 3,2008,1499:19-23; Exhibit G, trial
preservation deposition of Robert T. Schott, taken August 29, 2008, 155:20-160:25. He also
testified that he was in the engine room when others performed this work. See Exhibit G, trial
preservation deposition of Robert T. Schott, taken August 29, 2008, 155:20-160:25. Decedent
did not perform repair or maintenance to any evaporator before his service aboard the USS
Moore. See Exhibit I, discovery deposition transcript of Robert T. Schott, taken November 3,
2008, 1499: 19-23.

           From 1966 to 1969, Decedent again trained recruits at the San Diego Recruit Training
Center. During this time, Decedent did not board any ship and did not perform any repair,


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maintenance, or overhaul to any equipment or machinery. See Exhibit E, discovery deposition
transcript of       Robert T. Schott, taken October 9, 2008, 189: 9-23.

            From 1969 to 1970, Decedent served aboard the USS Caliente. Id. at 190:8-11. His
duties aboard this vessel were strictly limited to the Planed Maintenance System, wherein he
prepared written reports associated with the functioning of                      this system.2 See Exhibit J, discovery

deposition transcript of Robert T. Schott, taken October 22, 2008, 1009: 5-10 and 1010:10-

1011:6, and Exhibit K, discovery deposition transcript of Robert T. Schott, taken October 27,
2008, 1026:10-1027:6.

                        b. Richard Withers

            Richard Withers ("Mr. Withers"), a Navy shipmate of Decedent, was deposed on March
12,2010. Mr. Withers served with the Decedent from late 1959 to 1962 aboard the USS Moore.
See Exhibit L, deposition transcript of Richard Withers, taken March 12, 2010, 25:9-15 and
79:13-14. During this time, Decedent was a petty offcer in charge of                         the engine room, and Mr.

Withers and several other men operated the evaporator. Id., 24:20-25:1 and 25:19-26:11. Mr.
Withers reported to Decedent. Id., 26: 10-11. Mr. Withers testified that on one occasion, over
the course of a single weekend, "the whole crew" had to make repairs to the evaporator because
it was not fuctioning properly. Id., 49: 16-50:24. The "whole crew" removed the interior tubes
from the evaporator, sent them over to a tender ship for testing and repairs, and then reinstalled
them. Id., 51: 16-25. There was one gasket associated with this job, and it was supplied by the
tender. Id.,54:6-11. Mr. Withers thought Decedent probably helped with the                            job. Id.,52:17-

53:5. Other than this one time, Mr. Withers could not specifically recall any other work
Decedent performed on the evaporator. Id.,59:2-14.
            Mr. Withers further testified that during the course of his service on the USS. Moore, he
changed gaskets on the evaporator on several occasions. Id., 56:15 - 57:7. He was aware that
the ship had been built in 1944 or 1945 -- approximately 15 years before he boarded her -- and


2 Decedent did not perform any repair or maintenance to any evaporator aboard the USS Caliente.

                                                                             5
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he "(could not) imagine" that the original gaskets, packing, or insulation associated with the
evaporator were stil on the USS Moore when he boarded her in 1959. Id., 102:19 - 103:10. He
did he know who manufactured the replacement gaskets or gasket material used on the
evaporator. Id., 101:12-21; 102:19-25.

                        c. Robert E. Ross

            Robert E. Ross ("Mr. Ross"), a Navy shipmate of Decedent, was deposed in the State
Court Case on December 17, 2008; Viad was not present at the deposition. Mr. Ross served
aboard the USS Moore from June 1965 to May 1967, serving with Decedent for a total of nine
months. See Exhibit M, deposition transcript of Robert E. Ross, taken December 17, 2008,
23:22-24:1,142:13-16. Mr. Ross' testimony is devoid of       any mention of   the evaporator aboard

the USS Moore. Further, he had no knowledge of the maintenance history of the USS Moore

and had no way of knowing whether any of the gaskets or packing was original to any equipment
by the time he boarded her in 1965. Id. at 139:23-142:2.

                        d. Larry Clevenger

            The deposition of Lary Clevenger ("Mr. Clevenger"), another shipmate of the Decedent,
was taken in the State Cour Case on December 9, 2008; Viad was not present at the deposition.

Mr. Clevenger served aboard the USS Moore from 1958 to 1961, and was in charge of the
evaporator gang. See Exhibit N, deposition transcript of Larry Clevenger, taken December 9,
2008,22:12-18,90:9-16 and 132:13-18. Although Decedent supervised the engine room during
Mr. Clevenger's service, Mr. Clevenger could not recall any hands-on work Decedent did to the
evaporator during this time, testifying only regarding work done by others on peripheral pumps
and steam lines not manufactured by GRC. See generally Id., 40:14-15, 73:5-21 and 191:1-193.
            4. Ship History

                        a. USS Franklin D. Roosevelt (CVB-42)

            The USS Franlin D. Roosevelt (CVB-42) was laid down on December 1, 1943 and was

commissioned on October 27, 1945. Decedent served aboard her between 1948 and 1954.


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Plaintiff has offered no evidence that Decedent worked with or around a GRC product aboard
this vesseL.


                        b. USS Oriskany (CV-34)

            The USS Oriskany (CV-34) was laid down on May 1, 1944 and was commissioned on
September 25, 1950. Decedent served aboard her between 1954 and 1956. Plaintiff has offered
no evidence that Decedent worked with or around a GRC product aboard this vesseL.

                        c. USS Samuel N. Moore (DD-747)

            The USS Samuel N. Moore (DD-747) was laid down on September 30, 1943 and
commissioned June 24, 1944. Decedent served aboard her from 1959 to 1966, approximately

fifteen years later.

                        d. USS Caliente (AO-53)

            The USS Caliente (AO-53) was commissioned on October 22, 1943. Decedent served
aboard her between 1969 and 1970. Plaintiff        has offered no evidence that Decedent worked with

or around a GRC product aboard this vesseL.

            B. Factual Background Regarding Corporate History/Time Of GRC And Viad
                       - Lack Of Successor Relationship.


            1. GRC Background/Dissolution

            GRC was incorporated in Delaware, and by 1962, it was a subsidiary company of
Hamilton-Thomas. See Moody's Report for 1962, Exhibit P. On January 30, 1962, Baldwin-
Lima-Hamilton, a Pennsylvania corporation (referred to as "BLH-PA") bought 93.4% of the
stock of Hamilton-Thomas for cash. Id.

           In April 1962, GRC's shareholders voted to dissolve the company in accordance with
Delaware corporate laws. See Articles of Dissolution, attached as Exhibit Q. During a three-day
auction in October 1962, GRC's plant and all of its manufacturing equipment were sold to more
than 500 manufacturers, including GRC competitors. See Towpath to Towpath Article, attached
as Exhibit R. GRC was formally dissolved pursuant to Delaware law on December 18, 1963.
See Aricles of Dissolution, Exhibit Q. As more fully discussed below, under Pennsylvania,


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Delaware, and California law,3 GRC is defuct as of this date In 1963, and there are no
successors to it.

            In 1965, Amour and Co., a Delaware corporation, merged with BLH-PA (the entity

which had previously purchased a majority interest in the stock of GRC's former parent
corporation) in a statutory merger. See Merger Agreement, attached as Exhibit S; see also,
Armour Tax Return, attached as Exhibit T. BLH-PA ceased to exist and the surviving company
was known as Armour and Co. (referred to as Armour-DE).4 Id.
            Very importantly, as part of the same 1965 merger agreement by which Armour-DE
acquired all the assets and liabilties of BLH-PA, said assets and liabilties were transferred to a
newly-created and wholly-owned subsidiar named Baldwin-Lima-Hamilton, which was
incorporated in Delaware (referred to as "BLH-DE"). As discussed below, the simultaneous
transfer of all BLH-PA assets and liabilities to BLH-DE is evidenced by the 1965 Tax Return for
Arour-DE and documentation from the United States Internal Revenue Service (IRS).
            2. 1965 Tax Return for Armour-DE.

            Arour-DE's tax retur states:

                    On July 2, 1965, all the assets of Baldwin-Lima-Hamilton
                    Corporation (Pennsylvania) were transferred to Arour and
                    Company (Delaware) in exchange for common and preferred stock
                    of Arour and Company (Delaware) and assumption by Arour
                    and Company (Delaware) of all the liabilities of Baldwin-Lima-
                    Hamilton Corporation (Pennsylvania), and all such assets and
                    liabilities were immediately transferred to Baldwin-Lima-Hamilton
                    (Delaware) in a tax-free reorganization pursuant to Sections
                    368(a)(1)(A) and 368(a)(2)(C) of the Internal Revenue Code of
                    1954.




3 This motion wil be argued in Pennsylvania, involves Pennsylvania and Delaware corporations, and the case was
fied in California. Therefore, this motion references each states' law on the issue, which is consistent on the vital
issues.
4 For purposes of
                    this motion, Viad wil not contest that it is a corporate successor to Armour-DE.

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A copy of relevant excerpts from the 1965 tax return and related documentation is attached as to
the Affidavit of Deborah DePaoli, attached as Exhibit U, see pages marked "448-449" in top
right corner. The tax return described the effect of          these transfers as follows:

                        To effectuate this plan, BLH wil be merged with and into Arour
                        pursuant to the laws of Pennsylvania and Delaware, with Arour
                        as the surviving corporation. BLH's separate existence wil cease
                        and Arour wil acquire all of BLH's assets and assume all of
                        BLH's liabilities. Each share of BLH's common stock wil be
                        exchanged for one-sixth share of Arour common stock and
                        thirteen-hundredths of a share of a new issue of Armour $100 per
                        value $4.75 preferred stock ("Armour preferred").



                        Immediately following the merger, all of the BLH assets and
                        liabilities were transferred to Armour and Company's wholly
                        owned subsidiar Baldwin-Lima-Hamilton Corporation
                        (Delaware) in exchange for 4,165,250 shares of BLH (Delaware)
                        common stock.

Id.

            The IRS confirmed in its contemporaneous ruling that the assets and liabilties of BLH-
PA would not impact the assets, liabilities or income of Arour, as the assets and liabilties of

BLH-PA were "passing through" Armour and going directly to BHL-DE. See Tax Retur and

related correspondence from the IRS (pages marked with "465-470" in the top right corner),
attached as Exhibit T. The balance sheets of BLH-PA before the merger, and the balance sheet
of BLH-DE immediately after the transaction, are virtually identicaL. See Exhibit V, deposition
of    Peter Novak dated October 16,2007.5
            In 1972, BLH-DE changed its name to BLH, Inc. See Amendment, attached hereto as
Exhibit W. BLH, Inc. was formally dissolved on November 30, 1975. See Certified Certificate
of Dissolution fied with the Delaware Secretary of State, attached hereto as Exhibit X. Thus,
assuming for the sake of argument that BLH-PA somehow succeeded to any liabilities of GRC,


5 The attached deposition transcript is from the case entitled Andregg v. AW Chesterton, et al., docket no. 274208,
Superior Court of the State of California, County of San Francisco.

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which Viad expressly denies, the dissolution of that company, now named BLH, Inc. effectively
cut off any alleged GRC liabilities.

II. CHOICE OF LAW
            The instant case was removed from the Los Angeles County Superior Court to Federal
Court pursuant to federal question jurisdiction. This Cour must determine whether state law or
federal law governs. The general rule is that "(E)xcept in matters governed by the Federal
Constitution or by actions of Congress, the law to be applied in any case is law of the state."
Erie Railroad Co. v. Tompkins (1938) 304 U.S. 64, 78.

            However, there is an exception to this rule when an issue of maritime jurisdiction arises.
According to the court in East River Steamship Corp., v. Transamerica Delaval, Inc. (1986) 106
S.Ct. 2295, 863-864, maritime jurisdiction arises where an injury occurs on navigable waters.
While the instant case was originally fied in California state cour, the alleged exposure to
asbestos occurred while Decedent was serving in the Navy "on the high seas or navigable

waters." East River Steamship Corp., supra, 476 U.S. 858 at 864. Therefore, a choice of law

question arises as to whether California law or maritime law controls.

            Under California law, if there is no material difference in applicable rules of law, then
"there is no choice-of-law problem and the court may proceed to apply California law." Frontier
Oil Corporation v. RLI Insurance Company (2007) 153 Cal.App.4th 1436, 1465. With respect to
proximate cause in asbestos-exposure cases, California law and maritime law are essentially
identicaL. Under maritime law, the "substantial contributing factor" test is utilized in product
liability cases. Singleton Stone v. Amquip Corp., Civ. No. 98-cv-4691, 1000 WL 1448817 at 3

(E.D. Pa. sep. 29, 2000). Similarly, California has "definitely" adopted the "substantial factor"

test of the Restatement Second of Torts for cause-in-fact determinations. Rutherford v. Owens-
Illnois, Inc. (1997) 16 CaL.   4th 953, 968. As there is no material difference in the applicable rules

of law, this Cour should therefore apply the substantive law of California in determination of the
instant motion.


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III. LEGAL ARGUMENT
            The judgment sought by a motion for sumar judgment "should be rendered if the
pleadings, the discovery, and the disclosure materials on fie, and any affidavits show that there
is no genuine issue as to any material fact and that the movant is entitled to judgment as a matter
of law." Fed. Civ. Proc. Rule 56(c)(2) (emphasis added). Summary judgment is properly

granted to a defendant who shows either that plaintiff canot establish one or more essential
elements of his cause of action or that there is an affirmative defense that bars recovery. Fed.
Civ. Proc. Rule 56; Celotex Corp. v. Catrett (1986) 477 US 317, 325.
            A moving defendant "is not required to conclusively negate an element of plaintiff s
cause of action, but rather need only put forth evidence showing plaintiff does not possess, and
cannot reasonably obtain, evidence necessary to establish the elements of the cause of action."
Aguilar v. Atlantic Richfeld Co. (2001) 25 Cal.4th 826, 849; see also Celotex Corp. v. Catrett,
supra, 477 US at 323. Factually devoid discovery responses, such as boilerplate responses to
comprehensive discovery requests, are precisely the type of evidence that shifts the burden to
plaintiff on a motion for summary judgment. Once the burden shifts, "plaintiff must set forth
facts sufficient to establish the existence of an element essential to that pary's case, and on
which that party wil bear the burden of proof at triaL." Celotex Corp. v. Catrett, supra, 477 US
at 322; see also, Krantz v. BT Visual Images, LLC (2001) 89 Cal.AppAth 164, 170-71; Union

Bank v. Superior Court (1995) 31 Cal.AppAth 573; Andrews v. Foster Wheeler LLC (2006) 138

Cal.AppAth 96, 99-100.

            A. Summary Judgment Is Appropriate Because Plaintiff Cannot Establish That
                 Decedent Breathed Respirable Asbestos Fibers Released From A GRC
                        Product.

            Plaintiff canot establish the essential element of causation. To avoid summar
judgment, plaintiff must demonstrate that respirable asbestos fibers released from a GRC product
caused Decedent's injuries. Rutherford v. Owens-Illnois (1997) 16 CaL.        4th 953, 958; Cadlo v.




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Owens-Illnois (2004) 124 Cal.AppAth 513. The mere possibility of exposure does not create a
triable issue of           fact. Andrews v. Foster Wheeler, LLC (2006) 138 Cal.App.4th 96, 108.

            Proximate cause is an element of both negligence and strict product liabilty. Powell v.
Standard Brands Paint Co. (1985) 166 Cal.App.3d 357, 363. As a rule, the imposition of
liabilty in tort depends upon a showing by plaintiff that his injuries resulted from an act of
defendant or an instruentality under defendant's control. Ibid. To establish the essential
element of causation, plaintiff must do more than show that a GRC evaporator was present on
Decedent's ships. Hunter v. Pacifc Mechanical Corp. (199) 37 Cal.App.4th 1282, 1289; Dumin

v Owens-Corning Fiberglass Corp. (1944) 28 Cal.AppAth 650, 658. At a minimum, plaintiff
must show a "threshold exposure" to asbestos from a product manufactured, sold, or supplied by
GRC that was a "substantial factor in contributing to (his) injur." Id. at 982-83.6
            Not all exposures are sufficient to meet the "substantial factor" test. In determining

whether a particular exposure contributed significantly enough, "length, frequency, proximity

and intensity of exposure" should be considered, along with "the peculiar properties of the
individual product." Rutherford, supra, 16 Cal.4th at 977. A force which plays only an
"infinitesimal" or "theoretical" par in bringing about injury, damage, or loss is not a substantial
factor. Id., at 969; see also, Bockrath v. Aldrich Chemical Co. (1999) 21 CaL.                                   4th 71, 79;

Lineaweaver v. Plant Insulation Co., supra, 31 Cal.AppAth at 1416-17 (Many factors are
relevant in assessing the medical probability that an exposure contributed to plaintiff s asbestos
disease. Frequency of exposure, regularity of exposure, and proximity of the asbestos product to
plaintiff are certainly relevant, in addition to the type of asbestos product to which plaintiff was
exposed, the type of               injury suffered by plaintiff, and other possible sources ofplaintiffs injury).




6 See also, Lineaweaver v. Plant Insulation Co. (1995) 31 Cal.App.4th 1409, 1415-1416 (a plaintiff must
demonstrate exposure to a defendant's product and biological processes from the exposure which results in disease;
the plaintiff      bears the burden of     proving exposure to a particular defendant's product); Durnin, supra, 28 Cal.App.4th
650, 657-58; and McGonnell v. Kaiser Gypsum (2002) 98 Cal.App.4th 1098, 1103 (a threshold issue in asbestos
litigation is exposure to the defendant's product... if there has been no exposure, there is no causation).

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                        1. Plaintiff Cannot Meet Either Prong Of The Rutherford Test.

           Rutherford and its progeny require plaintiff to prove - by non-speculative evidence - that
Decedent worked with or in the immediate vicinity of an asbestos-containing GRC product.
Plaintiff must demonstrate that Decedent worked with or around a GRC product that contained
asbestos and released respirable asbestos fibers.

            At the very least, plaintiff must possess some specific evidence that: (i) the evaporator the

Decedent worked on while aboard the USS Moore contained an original asbestos-containing
gasket or component manufactured or supplied by GRC; (ii) Decedent's work on the evaporator
somehow disturbed this original component, liberating respirable asbestos fibers; and (iii)
Decedent breathed these fibers. Dumin, supra, 28 Cal.App.4th at 654. Plaintiff canot make the
necessary showing. Decedent testified that he did not perform any repair or maintenance to any
evaporator prior to his service aboard the USS. Moore. See Exhibit I, discovery deposition of
Robert T. Schott, taken November 3, 2008, 1499:19-23. The USS Moore was laid down on
September 30, 1943 and commissioned on June 24, 1944. Decedent boarded this vessel in 1959,

approximately fifteen year after she was commissioned. By 1959, the USS Moore had
undergone several overhauls, including but not limited to overhauls in 1945-46 and 1947-48, and
one just prior to the date Decedent boarded her. See Exhibit 0, Report of         Material Inspection of

the U.S.S. Samuel N. Moore, dated November 10, 1947; see also Exhibit L, deposition transcript
of Richard Withers, taken March 12, 2010, at 131:24-132:3. During these overhauls, the
evaporator would have been opened up, the tubes would have been inspected, and the gaskets
and packing would have been replaced. Id., 56:15-58:5,131:22-132:3. Therefore, by the time
Decedent boarded the USS Moore, the evaporator did not contain any original asbestos-
containing materials supplied by GRC (assuming, arguendo, that any such materials were even
on the evaporator in the first place). In the absence of any asbestos-containing gaskets, packing,
or insulation supplied by GRC, plaintiff canot meet either prong of the Rutherford test.




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Rutherford, supra, 16 Cal.4th at 969; McGonnell, supra, 98 Cal.AppAth at 1105. There is no

evidence that GRC provided any replacement gaskets or packing.

            Moreover, based on the testimony of Decedent and Mr. Withers, Decedent only worked

on the evaporator on one occasion, over the course of one weekend, during which "the whole

crew" removed the tube nest from the evaporator for repairs aboard another ship, and replaced
the tube nest after the repairs were complete. See Exhibit L, deposition transcript of Richard

Withers, taken March 12,2010,49:16-50:24,51:16-25; 59:2-14. There was only one gasket
associated with this work, which given the number of overhauls the ship had undergone would
not have been original to the evaporator.
            The proffered testimony of Decedent and the three product identification witnesses fail to

support plaintiff s claims that Decedent breathed respirable asbestos fibers emitted by a GRC
product that was originally supplied by GRC. Summar Judgment should therefore be granted.

            B. Summary Judgment Is Appropriate Because Plaintiff Cannot Establish That
                        GRC Placed An Asbestos-Containing Product Into The Stream Of
                        Commerce.
            To the extent plaintiff attempts to hold Viad responsible for products manufactured or
supplied by third parties, such as insulation the Navy added to a GRC evaporator or gaskets the
Navy placed in the evaporator years after it was sold, plaintiffs theory of liabilty is not
supported by the law.

            California precludes liability for hazards or defects associated with products that a
defendant did not place into the stream of commerce. Taylor v. Ellott Turbomachinery Co.

(2009) 171 Cal.AppAth 564, 564. Because plaintiff
                                                         has not, and cannot, prove that GRC placed

an injury-producing, asbestos-containing product into the stream of commerce, sumary
judgment in favor of Viad is appropriate.
III

III

III



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                        1. Summary Judgment Is Proper Because GRC Was Not In The Chain
                                    Of Distribution Of Products Manufactured And Supplied By Others.

            California recently refined its law relating to what a plaintiff must prove in order to

prevail in an asbestos exposure action. California cours have repeatedly held that manufacturers
are not insurers of their products and are liable in tort only when defects in their products caused
injury. Soule v. General Motors Corp., supra, 8 CaL.             4th at p. 568, fn. 5. Expanding on this

concept, the Taylor court held that a manufacturer cannot be liable for the dangers inherent in
asbestos-containing materials if a plaintiff fails to prove that the manufacturer was par of the
"chain of distribution" of the injury-producing product. Taylor, supra, 171 Cal.AppAth at 592-
593.

           In Taylor, plaintiffs alleged that Mr. Taylor was exposed to asbestos-containing products

while working in the U.S. Navy during the 1960s. Id. at 571-572. The asbestos-containing

products to which Mr. Taylor was exposed (thermal insulation and replacement gaskets and
packing) were used on or near defendants' equipment, but were manufactured and supplied by

third paries. Id.

           Plaintiffs argued that the use of third paries' products was foreseeable to defendant
equipment manufacturers. Therefore, the equipment manufactuers should be held liable for the

dangerous propensities inherent in the third paries' gaskets, packing, and insulation. Taylor,

supra 171 Cal.AppAth at 572. The equipment defendants argued that liability should be limited
to those in the chain of distribution of the products that contained asbestos. Id. In affrming the
trial cour's grant of defendants' summary judgment, the Taylor cour emphasized that liability
would attach only upon evidence that a defendant placed the injury-producing product in the

stream of commerce. Id. at 576.

                       The evolution of this notion reflects a bright-line legal distinction
                       tied to the injury-producing product in the stream of commerce.
                       Other manufacturers canot be expected to determine the relative
                       dangers of various products they do not produce or sell and
                       certainly do not have a chance to inspect or evaluate. This legal
                       distinction acknowledges that over-extending the level of
                       responsibilty could potentially lead to commercial as well as legal
                       nightmares in product distribution.
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Taylor, supra 171 Cal.AppAth at 576, emphasis in originaL.

       The Taylor cour set forth the specific evidentiary showing a plaintiff must make to prove

a defendant placed the injury-producing product in the stream of commerce:

               It is the defendant's paricipatory connection, for his personal
               profit or other benefit, with the injury-producing product and with
               the enterprise that created consumer demand for and reliance upon
               the product... with the manufacturer or other entities involved in
               the manufacturing-market system () which calls for imposition of
               strict liabilty." This nexus of liability is present . .. if the
               plaintiffs evidence establishes "(1) the defendant received a direct
               financial benefit from its activities and from the sale of the
               product; (2) the defendant's role was integral to the business
               enterprise such that the defendant's conduct was a necessary factor
               in bringing the product to the initial consumer market; and (3) the
               defendant had control over, or a substantial abilty to influence, the
               manufacturing or distribution process.

Id. at p. 725, internal citations omitted. It is plaintiff s burden to produce evidence of the three
factors linking the injury-producing product with a paricular entity in the stream of commerce.
Taylor, supra 171 Cal.AppAth at 576 (citing, Bay Summit Community Assn. v. Shell Oil Co.

(1996) 51 Cal.App.4th 762, 776). See also, Springmeyer v. Ford Motor Co. (1998) 60
Cal.AppAth 1541, 1554 (to impose liability would require product suppliers "to retain experts in
a huge variety of areas in order to determine the possible risks associated with each potential

use."). Absent this showing, Viad canot be held liable.
       If GRC did not paricipate in the chain of distribution for the alleged injur-causing
product, Viad canot be held liable under any theory of liability. Here, there is no evidence that
Decedent was exposed to any original asbestos-containing GRC product. Thus, Viad's motion
for summary judgment should be granted.
               2. This Case Is Factually Analogous To Taylor.

       Taylor governs this case. Decedent served on the USS Moore approximately fifteen

years after she was laid down. There is no evidence that any asbestos-containing products that

Decedent may have encountered on that ship were supplied by GRC. To the contrary, the USS
Moore underwent several major overhauls between the time she was laid down in 1943 and the


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time Decedent boarded her in 1959. See Exhibit 0, report of Material Inspection of the USS
Samuel N. Moore, dated November 10, 1947. Furthermore, no testimony was offered - by either
Decedent or plaintiff s product identification witnesses - as to the presence of any original

component par on any GRC equipment.

            GRC is not legally responsible for any insulation the Navy may have placed on the
evaporator, or any asbestos-containing gaskets it may have used. Because GRC took no part in
the "marketing enterprise or distribution" of the alleged injury-producing gaskets or insulation,
Viad is entitled to summar judgment. Taylor, supra, 171 Cal.AppAth at 575-579; see also,

Peterson v. Superior Court (1995) 10 Cal.4th 1185.

iv. VIAD is NOT THE SUCCESSOR TO GRC
            A. Applicable Law - Corporate Successor Liabilty.

            As noted above, the corporate successor issues involve Delaware and Pennsylvania

corporations. Analysis of successor liability begins with BLH-PA's purchase of a majority
interest in the stock of Hamilton-Thomas (the corporate parent of GRC) in 1962. Under
Delaware and Pennsylvania law, as well as California law, a corporation purchasing the assets of
another corporation does not, by reason of such purchase, become liable for the debts and
liabilties of       the sellng corporation. Philadelphia Elec. Co. v. Hercules, Inc., 762 F.2d 303,308

(3rd Cir. 1985), cert denied, 474 U.S. 980 (1985); Elmer v. Tenneco Resins, Inc., 698 F.Supp.
535, 540 (D. DeL. 1988); See Schwartz v. McGraw-Edison Co. (1971) 14 Cal.App.3d 767, 780.
See also Witkin, Summary of                   California Law (9th Edition) Torts section 1273.

            There are exceptions to this rule of non-liability. In Pennsylvania and Delaware,

successor liability can be imposed after a mere asset purchase where: (1) the purchaser expressly
or impliedly agrees to assume the liabilty; (2) the purchase is a de facto merger or consolidation;

(3) the purchaser is a mere continuation of
                                                           the sellng company; or (4) the transfer of assets is for

the fraudulent purpose of escaping liability. Philadelphia Electric Company v. Hercules, Inc.,
762 F.2d 303 at 308-309; Fehl v. S. w.e. Co., 433 F.Supp. 939, 945 (D. DeL. 1997). California


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law also recognizes the exceptions. See Ortiz v. South Bend Lathe (1975) 46 Cal.App.3d 842,

846. As a preliminar note, it is important to recognize that plaintiff has not and canot claim
that BLH-P A ever expressly or impliedly agreed to assume the liabilities of GRC. Thus, the first
exception of        the general rule of      non-liability is not even at issue here.

            B. A GRCIBLH-PA De Facto Merger Did Not Occur.
            Lacking any support for the first exception to the general rule, Viad anticipates that
plaintiff wil suggest a de facto merger, sometimes referred to as a statutory merger, took place
whereby BLH-PA succeeded to the liabilities of GRC. The record shows that no such merger
ever occurred. Under both Pennsylvania and Delaware law, a de facto merger can take place
where a seller corporation continues its business existence as an absorbed part of the buyer and
the seller's shareholders or officers continue their interest in the business after the dissolution of
the sellng corporate entity. Continental Ins. Co. v. Schneider, Inc., 810 A.2d 127, 135 (Pa. Sup.
Ct. 2002); Drug, Inc. v. Hunt, 35 DeL. 399, 168 A. 87,96 (DeL. 1933).

               The transfer of stock, continuity of management, personnel, physical location, and

shareholders, and the assumption of the sellng corporation's liabilities are all key elements in
finding a de facto merger. Philadelphia Elec. Co. 762 F.2d at 310. While under Pennsylvania
law, the de facto merger exception focuses on whether the purchaser is merely restructured or
reorganized form of the seller; the most critical element of the Pennsylvania de facto merger
analysis is the continuity of             the stock ownership. Berg Chillng Sys., Inc. v. Hull Corp., 435 F.3d

455, 468-69 (3d Cir. 2006); Contl Ins. Co. v. Schneider, Inc. 810 A.2d 127, 134-36 (2002),

aff'd, 873 A.2d 1286 (Pa. 2005). De facto merger fails as a matter of law if there is no stock
transfer between the predecessor and the alleged successor. Forrest v. Beliott Corp., 278 F.
Supp. 2d 471,477 (E.D. Pa. 2003), rev'd on other grounds, 424 F.3d 344 (3d Cir. 2005).

               In this case, BHL-P A was not a restructured or reorganized form of GRC. GRC was
dissolved in the ordinary course of              business and ceased to exist.7 BLH-PA paid cash for 93.4%

7 By statute, Delaware, the state in which GRC was incorporated and dissolved, protects shareholders from liabilty
on claims fied more than three years after the date of dissolution of the corporation if certain procedures were
                                                              18
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of Hamilton Thomas stock, the corporation that owned GRC. See Moody's Report for 1962,
attached as Exhibit P. There was no exchange of stock and no continuity of stock ownership.

There was no continuity of physical location, management or personneL. There is no evidence
that BLH-PA took on GRC liabilities.

               On April 18, 1962, GRC's board of Directors met to approve and ratify a complete
liquidation and dissolution plan. The stockholders voted unanimously in favor of the board's
recommendations. GRC sold $5 millon in assets before it dissolved. GRC's plant and
equipment were sold at auction to more than 500 of its competitors. Eight hundred employees
lost their jobs. The company formally dissolved in December 1963 pursuant to Delaware law.
See Articles        of   Dissolution, attached as Exhibit Q.

               A Washington appellate cour recently considered this exact issue and found Viad was
not the successor in interest to GRC using the same factual analysis set forth above. Payne v.

Viad Corporation, 190 P.3d 102, 108 (Wash. Ct. App. 2008); see Exhibit Y. As the Payne court
agreed, contrary to Plaintiff s assertions, there is no evidence of a de facto or statutory merger

between BLH-PA and GRC under the law, and therefore, Viad cannot be successor to the
liabilities of GRC.

               C. The 1965 Armour DEIBLH-P A Statutory Merger Transformed Liabilties To
                     BLH-DE, Cutting Off Any Potential Liabilty To Viad.

               Should the cour determine that issues of fact exist as to whether or not a de facto merger
took place between BLH-PA and GRC, Viad is stil entitled to sumary judgment because Viad

never succeeded to either GRC's or BLH-PA's liabilties. Rather, all of BLH-PA assets and
liabilties were transferred to BLH-DE in a tax-free reorganization in 1965, and BLH-DE was
later dissolved.




followed in the dissolution. 8 DeL. §§ 282, 281, 282. By law, a corporation must give public notice of the
dissolution and provide a date by which claims against the corporation must be asserted, after which claims are
barred. GRC's dissolution, some fort-five years ago under Delaware law, is a critical reason for not imposing GRC
liabilities on BLH-PA.

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       As noted above, Arour-DE merged with BLH-PA in 1965. As an integral par of that
merger, Armour formed BLH-DE, which assumed all BLH-PA liabilities. A condition of the
1965 merger was receipt by Armour-DE of a ruling by the IRS Commissioner stating that
Armour-DE would not recognize a gain or loss by virtue of the merger. Arour provided a
statement to the IRS explaining how the BLH-PA assets and liabilties were to transfer
immediately to BLH-DE. The IRS ruled that the reorganization qualified for tax-free treatment.
The ruling was attached to the 1965 Arour-DE tax retur, along with Armour-DE's statement
to the IRS. See Exhibit T at pages marked "448-49" in the upper right corner.
       In addressing the issue of successor liabilty, the deposition testimony of Peter Novak is
instructive. Mr. Novak was in-house counsel at Viad and its predecessor corporate entities, as
well as BLH-DE's former general counsel. Thus, he has the predicate knowledge and foundation
by which to establish the undisputed facts pertaining to Viad's corporate timeline. Mr. Novak
has testified in a number of asbestos cases wherein the claimants sought to impose successor
liability upon Viad for GRC products. His deposition testimony from a prior California case is
paricularly on point. In that case, he testified that in 1965 all assets and liabilities of BLH-P A
were merged into Armour and then transferred to BLH-DE via a written assignment. See Novak
Deposition at pp. 62-66, attached as Exhibit V. Mr. Novak recalled seeing the assignment on
numerous occasions, and described its physical characteristics and the purpose of the document.

Viad has been unable to locate the document, which is hardly surprising given that it was
prepared some 44 years ago, so the sworn testimony of Mr. Novak remains the best evidence of
the contents of that document.
       Consequently, Arour-DE did not succeed to BLH-PA's assets or liabilities, including
any liabilities associated with GRC products, should those liabilties have somehow survived the
complete dissolution of the GRC years before. Rather, the assets and liabilities went to BLH-
DE, an entity that is not a corporate predecessor to Viad. Accordingly, Viad is entitled to
sumary judgment as a matter of law, as it is not the corporate successor to GRC.


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       WHEREFORE, Defendant Viad respectfully requests this Court enter Sumar
Judgment in its favor and grant such other relief as the Court deems just and proper.


Dated: August 13, 2010




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Los Angeles, California 90071
Telephone: (213) 283-2100
Attorneys for Defendant, Viad Corp


IN RE: ASBESTOS PRODUCTS                                            )   UNITED STATES DISTRICT COURT FOR
LIABILITY LITIGATION (NO. VI)                                       )   THE EASTERN DISTRICT OF
                                                                    )   PENNSYLVANIA
THERESA M. SCHOTT, Individually and )
as Personal Representative for the Estate of )
ROBERT THOMAS SCHOTT )                                                  EDPA Case No. 2:09-CV-63308-ER
                                                                    )
                      Plaintiffs,                                   )
                                                                    ) Transferor Court: United States District Cour for
            vs.                                                     ) the Central District of California
                                                                    )
CLA- V AL CO., et aI.,                                              )
                                                                    )
                                                                    ) DECLARATION OF PETER B. LANGBORD
                        Defendants.                                 ) IN SUPPORT OF MOTION FOR
                                                                    ) SUMMARY JUDGMENT
                                                                    )

            I, Peter B. Langbord, declare as follows:
            1. I am an attorney at law duly licensed to practice law before all of the Courts in the

State of California and the United States District Cour, Central District of California, and am a
parner in the law firm of Foley & Mansfield, PLLP, attorneys of record for Defendant Viad

Corp ("Viad"). I am one of            the attorneys responsible for defending this matter on behalf of         Vi   ad

Corp and have personal knowledge of                   the following matters and can competently testify thereto.
            2. Attached hereto as Exhibits "A", "B", and "C" are true and correct copies of

plaintiffs' responses to special interrogatories, request for production of documents and request
for admissions that my offce propounded on Viad's behalf.
            3. Attached hereto as Exhibit "D" is a true and correct copy of plaintiffs' Death

Certificate.
           4. Attached hereto as Exhibit "E" is a true and correct copy of the deposition of

Robert Schott, taken on October 9, 2008.
            5. Attached hereto as Exhibit "F" is a true and correct copy of the deposition of
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Robert Schott, taken on October 16, 2008.

            6. Attached hereto as Exhibit "G" is a true and correct copy of the deposition

transcript of       Robert Schott, taken on August 29,2010.
            7. Attached hereto as Exhibit "H" is a true and correct copy of the deposition of

Robert Schott, taken on October 17,2008.
            8. Attached hereto as Exhibit "I" is a true and correct copy of the deposition of

Robert Schott, taken on November 3, 2008.
            9. Attached hereto as Exhibit "J" is a true and correct copy of the deposition of

Robert Schott, taken on October 22, 2008.
            10. Attached hereto as Exhibit "K" is a true and correct copy of the deposition of
Robert Schott, taken on October 27, 2008.

            11. Attached hereto as Exhibit "L" is a true and correct copy of the deposition of
Richard Withers, taken on March 12,2010.
            12. Attached hereto as Exhibit "M" is a true and correct copy of the deposition of

Robert E. Ross, taken on December 17,2008.
            13. Attached hereto as Exhibit "N" is a true and correct copy of the deposition of

Larry Clevenger, taken on December 9,2008.

            14. Attached hereto as Exhibit "0" is a true and correct copy of the Report of

Material Inspection of              the U.S.S. Samuel N. Moore, dated November 10, 1947.
            15. Attached hereto as Exhibit "P" is a true and correct copy Moody's Report for

1962.

            16. Attached hereto as Exhibit "Q" is a true and correct copy of the Articles of
Dissolution.
            17. Attached hereto as Exhibit "R" is a true and correct copy of the Towpath to

Towpath Aricle.
            18. Attached hereto as Exhibit "s" is a true and correct copy of the Merger

Agreement.
            19. Attached hereto as Exhibit "T" is a true and correct copy of        the Tax Return.
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       20. Attached hereto as Exhibit "u" is a true and correct copy of the Affidavit of
Deborah DePaoli.

       21. Attached hereto as Exhibit "V" is a true and correct copy of the deposition of

Peter Novak taken October 16,2007.
       22. Attached hereto as Exhibit "W" is a true and correct copy of the Amendment

       23. Attached hereto as Exhibit "X" is a true and correct copy of the Certified

Certificate of Dissolution.
       24. Attached hereto as Exhibit "Y" is a true and correct copy of Payne v. Viad

Corporation, 190 P.3d 102, 108 (Wash. Ct. App. 2008).




          I declare under penalty of   perjury, under the laws of   the State of
foregoing is true and correct. Executed this 13th day of August, 201
            Case 2:09-cv-63308-ER Document 26 Filed 08/16/10 Page 31 of 31


1 PROOF OF SERVICE
2 (CCP, 1013A(3) CRC Rule 2006(d) - Revised 3/1/92)
3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:
4 I am employed in the County of Los Angeles, State of California. I am over

5 the age of 18 and not a party to the within action; my business address is 300 S.
    Grand Ave., Suite 2800, Los Angeles, California 90071.
6

7
       On August 16, 2010, I served the foregoing document described as:
   DEFENDANT VIAD CORP'S NOTICE OF MOTION AND MOTION FOR
8 SUMMARY JUDGMENT; MEMORANDUM OF LAW IN SUPPORT OF
 9 ITS MOTION FOR SUMMARY JUDGMENT & DECLARATION OF
    PETER B. LANGBORD IN SUPPORT OF MOTION FOR SUMMARY
10 JUDGMENT on the interested parties in this action by placing a true copy thereof
11 enclosed in sealed envelope(s) addressed as follows:
                                                         Evan Delgado, Esq.
                                 SIMON, EDDINS & GREENSTONE, LLP
                                         301 E. Ocean Blvd., Suite 1950
                                            Long Beach, CA 90802
                                   Tel: (562) 590-3400/ Fax: (562) 590-3412
                                                     Attorneys for Plaintifs


          (B Y MAIL) I caused such envelope with postage thereon fully prepaid to be
          placed in the U.S. mail at Los Angeles, California. I am "readily familiar"
          with the firm's practice of collection and processing correspondence for
          mailing. It is deposited with U.S. Postal Service on that same day in the
          ordinary course of business.


          (BY COURT'S CMÆCF SYSTEM) Pursuant to Local Rule, I electronically
          filed the documents with the Clerk of the Court using the CMÆCF systems,
          which sent notification of that filing to the persona listed above.
          Executed on August 16,2010, Los Angeles, California.

          FEDERAL) I declare that I am employed in the office of a member of       the
          bar of this Court at whose direction the service was mad
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